 4:07-cr-03054-RGK-CRZ    Doc # 21   Filed: 06/21/07   Page 1 of 2 - Page ID # 35



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiffs,          )
                                     )                 4:07CR3054
           v.                        )
                                     )
FEDERICO BALLI and                   )
DEBORAH V. VASQUEZ,                  )          MEMORANDUM AND ORDER
                                     )
                Defendants.          )
                                     )




     A conference pursuant to Rule 17.1 of the Federal Rules of
Criminal Procedure was held with counsel this date by telephone
conference call.    The court was advised that defendant Balli has
been critically injured in a traffic accident June 5, 2007 and is
now in a rehabilitation hospital where he is likely to remain for
up to four months.       He is thus physically unable to attend trial.
Defendant Balli’s counsel will obtain verification documents and
provide them to the court.       All counsel agreed that there is no
reason at this point to proceed to trial with only co-defendant
Vasquez, and suggested that the matter be reviewed again in sixty
days, once defendant Balli’s condition and prognosis is better
known.


     IT THEREFORE HEREBY IS ORDERED:

     1. This case is exempted from the time constraints of the
Speedy Trial Act, 18 U.S.C. 3161(h)(4), for the reason that the
defendant Balli is physically unable to attend trial. Because of
his condition, the provisions of Section 3161(h)(7) apply with
respect to defendant Vasquez.

     2. A telephone conference with counsel will be held
August 28, 2007 at 2:00 p.m. Central Time for the purpose of
further reviewing the case and perhaps setting a trial date.
4:07-cr-03054-RGK-CRZ   Doc # 21   Filed: 06/21/07   Page 2 of 2 - Page ID # 36




    DATED this 21st day of June, 2007.


                                   BY THE COURT:


                                   s/ David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge




                                     2
